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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

MARIA RODRIGUEZ,                                 §
                                                 §
        Plaintiff,                               §
                                                 §    CIVIL ACTION NO. 3:15-CV-00653-P
V.                                               §
                                                 §
STATE FARM LLOYDS,                               §    JURY
                                                 §
        Defendant.                               §

                     JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Plaintiff Maria Rodriguez and Defendant State Farm Lloyds hereby stipulate to the

voluntary dismissal with prejudice of this matter, pursuant to Federal Rule of Civil Procedure

41(a)(1)(A)(ii). Therefore, Plaintiff’s claims against Defendant State Farm Lloyds are hereby

dismissed with prejudice, with each party to bear its own costs, if any.

        SO STIPULATED, this the 27th day of April 2015.


                                              Respectfully submitted,



                                              /s/ Jessica Taylor
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                                              COUNSEL FOR PLAINTIFF

                                              And


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                                               /s/ Rhonda J. Thompson
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                                               COUNSEL FOR DEFENDANT
                                               STATE FARM LLOYDS



                                 CERTIFICATE OF SERVICE

        The undersigned certifies that on the 27th day of April 2015, the foregoing pleading was
delivered to the following counsel of record for Plaintiff via electronic filing and electronic filing
and e-mail in accordance with the Federal Rules of Civil Procedure:


        Via Electronic Filing and E-mail:
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                                               /s/ Adrienne B. Hamil
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